Case 1:15-cv-00144-WES-LDA Document 125-1 Filed 07/27/18 Page 1 of 4 PageID #: 5193



                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

   ---------------------------------------------------------------X
   JOHN DOE,                                                      :   Civ. No. 15-cv-00144-S-LDA
                                                                  :
                                       Plaintiff,                 :
                                                                  :
                     -against-                                    :
                                                                  :
   BROWN UNIVERSITY                                               :
     in Providence in the State of Rhode Island                   :
     and Providence Plantations,                                  :
                                                                  :
                                       Defendant.                 :
   ---------------------------------------------------------------X

                                    MEMORANDUM IN SUPPORT OF
                                    PLAINTIFF’S MOTION IN LIMINE
                                    (DEAN SUAREZ INTAKE NOTES)

           Plaintiff John Doe submits this Memorandum in support of his motion in limine to

   exclude from the trial record a set of intake notes prepared by Dean Suarez, previously filed

   (under seal) with the Court as Exhibit 21 to Defendant Brown University’s Statement of

   Undisputed Facts, CM/ECF 98-13 and attached hereto as Exhibit A (filed under seal). As argued

   below, the Court should exclude these notes from the trial record because (1) they were not made

   a part of Defendant’s investigation, (2) they were prepared for the purpose of providing Plaintiff

   with support during the investigation, not for the purpose of investigating him and (3) they were

   prepared after Defendant refused Plaintiff’s request to make an audio recording of the meeting.



   I.      Background

           During the time of Plaintiff’s enrollment at Brown University, Maria Suarez served as

   Associate Dean and Director of Student Support Services. Exhibit B (Deposition of Dean Suarez

   conducted March 8, 2017; filed under seal), p. 17, lines 17-24. During Defendant’s


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Case 1:15-cv-00144-WES-LDA Document 125-1 Filed 07/27/18 Page 2 of 4 PageID #: 5194



   investigation, Dean Suarez served as John Doe’s “support dean,” Exhibit B, p. 52, lines 2-4. In

   this role, Dean Suarez assisted John Doe in obtaining academic accommodations, such as

   extensions on papers and excused absences. Exhibit B, p. 88, lines 7-13.

           Dean Suarez first met John Doe on a Sunday morning at her office. Exhibit B, p. 97,

   lines 16-20. Dean Castillo also attended the meeting. Id. Dean Suarez’s role was “to be there

   for the student . . . a second set of ears for the student, [to] help them process.” Id., p. 100, lines

   16-18. Dean Suarez had no role in the decision to remove John Doe from campus; instead, her

   “role there is as a student support team [sic] primarily for the student [John Doe].” Id., p. 108,

   lines 2-9, 13-14.

           As part of the meeting, Dean Suarez prepared an “intake form.” Exhibit A. She asked

   John Doe to fill out the top portion of the form with identifying information, lists of classes he

   was taking, and so on. Exhibit B, p. 112, lines 17-22. She apparently then wrote down some

   notes. After their meeting, she placed her notes in a file. Id., p. 113, lines 22-24. She did not

   provide the notes to Dean Castillo, Vice President Klawunn or anyone else. Id., p. 114, lines 5-

   17. She did not discuss her views of the case with anyone. Id.



   II.     Argument

           As part of its Statement of Undisputed Facts, Defendant presented Dean Suarez’s intake

   form as evidence of the content of John Doe’s statements at the Sunday morning meeting. See

   CM/ECF 95, pp. 22-23, ¶89. According to Dean Suarez’s testimony, she attended the meeting to

   provide John Doe with support, not to investigate the allegations against him. See p. 2, supra.

   Her notes were not used by Dean Castillo or Vice President Klawunn (who managed the student




                                                      2
Case 1:15-cv-00144-WES-LDA Document 125-1 Filed 07/27/18 Page 3 of 4 PageID #: 5195



   conduct investigation), the Brown University Campus Police (which conducted its own

   investigation) or the Student Conduct Board (which conducted the disciplinary hearing).

          Dean Suarez was not interviewing John Doe for the purpose of investigating the incident,

   and her notes were not taken for the purpose of making a record of Plaintiff’s statements. She

   did not share her notes with the University officials investigating the incident; indeed, Dean

   Suarez did not share her intake form with anyone else at all. Under these circumstances, Plaintiff

   moves in limine to exclude them from the trial record because the probative value is exceeded by

   the prejudice that the introduction of these notes could cause.1



   III.   Conclusion

          For these reasons, Plaintiff moves that the Court rule in limine to exclude from the record

   the intake notes prepared by Dean Suarez as evidence of the content of Plaintiff’s statements

   made at the October 19, 2014 meeting.




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          Plaintiff also files today with the Court a Motion in limine to exclude from the record any
          description of Plaintiff’s statements made to Deans Suarez and Castillo-Appollonio at the
          October 19 morning meeting due to the fact they his statements were not the basis for
          either (i) Vice President Klawunn’s removal order, (ii) the decision, after an
          investigation, to charge Plaintiff with offenses to be heard by the Student Conduct Board
          or (iii) the Student Conduct Board’s decision. The reasoning supporting the second
          Motion also supports this one a fortiori.

                                                    3
Case 1:15-cv-00144-WES-LDA Document 125-1 Filed 07/27/18 Page 4 of 4 PageID #: 5196



                                        Respectfully submitted,


                                        Plaintiff John Doe,
                                        By his attorneys,

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   July 27, 2018                        sdz@zurierlaw.com



                                      CERTIFICATE OF SERVICE

         I hereby certify on this 27th day of July, 2018, I served a copy of this Memorandum on
   Defendants’ counsel via the Court’s CM/ECF system.

                                /s/    Samuel D. Zurier, Esq.




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